Case 3:09-cr-03018-LRR-JSS   Document 58   Filed 05/04/09   Page 1 of 6
Case 3:09-cr-03018-LRR-JSS   Document 58   Filed 05/04/09   Page 2 of 6
Case 3:09-cr-03018-LRR-JSS   Document 58   Filed 05/04/09   Page 3 of 6
Case 3:09-cr-03018-LRR-JSS   Document 58   Filed 05/04/09   Page 4 of 6
Case 3:09-cr-03018-LRR-JSS   Document 58   Filed 05/04/09   Page 5 of 6
Case 3:09-cr-03018-LRR-JSS   Document 58   Filed 05/04/09   Page 6 of 6
